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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

JOHN ROBERT SMITH, ET AL.                                                   PLAINTIFFS

VS.                                 CIVIL ACTION NO. 3:01cv855-HTW-EGJ-DCB

ERIC CLARK, Secretary of State of Mississippi;
ET AL.                                                                    DEFENDANTS

                                   Consolidated with

KELVIN BUCK, ET AL.                                                         PLAINTIFFS

VS.

HALEY BARBOUR, in his official capacity as
Governor of the State of Mississippi, ET AL.                  DEFENDANTS
______________________________________________________________________________

          THE GOVERNOR’S AND THE ATTORNEY GENERAL’S
          RESPONSE IN OPPOSITION TO THE MOTION OF THE
       NAACP DEFENSE FUND, ET AL. FOR LEAVE TO FILE BRIEF
       AMICI CURIAE OPPOSING VACATUR OF THE INJUNCTION
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       The Governor and the Attorney General, sued here in their official capacities, *

oppose the motion for leave to participate in this case as amici curiae filed by the

NAACP Legal Defense and Educational Fund, Inc., the Mississippi State Conference

of the NAACP, One Voice, and Black Voters Matter Capacity Building Institute. Dkt.

169. This Court should reject the proposed amici’s proposed brief and supporting

expert declarations, and deny their request for “limited participation” in any future

“hearings.” Id. at 5.




       * Governor Tate Reeves and Attorney General Lynn Fitch are automatically
substituted for their predecessors-in-office as defendant parties. See Fed. R. Civ. P. 25(d).

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      The proposed amici’s belated filing is improper for at least three reasons. First,

the proposed amici seek to raise new claims and issues not previously asserted by the

existing parties. As they acknowledge, this Court has “inherent authority to appoint

or deny amici which is derived from Rule 29 of the Federal Rules of Appellate

Procedure.” Dkt. 169 at 4 (internal quotation marks omitted). Under those rules, an

amicus curiae “generally cannot expand the scope” of a lawsuit or “implicate issues

that have not been presented by the parties.” Resident Council of Allen Parkway Vill.

v. U.S. Dep’t of Hous. & Urban Dev., 980 F.2d 1043, 1049 (5th Cir. 1993); see also

Voices for Int’l Business and Educ. v. NLRB, 905 F.3d 770, 775 n. 6 (5th Cir. 2018)

(noting that federal courts “do not consider arguments raised by an amicus that the

party it is supporting never made”). The proposed amici’s effort to submit new claims

and evidence violates both those principles.

      The proposed amici’s principal attack on 2022 House Bill 384 is that race

predominated in lawmakers’ considerations when crafting the new Second

Congressional District. Dkt. 169-3 at 11-18. In their view, the Legislature relied on

an alleged “mechanical” BVAP “target” of sixty-two percent. Id. at 11; see id. at 11-

18. The proposed amici further contend that the new district is not “narrowly

tailored” to achieve compliance with Section 2 of the Voting Rights Act. Id. at 18; see

id. at 18-22. For support, the proposed amici rely on two experts who contend that

the Second District’s target BVAP must be fifty-four percent to satisfy Section 2. Dkt.

169-1 at 7-10; Dkt. 169-2 at 6.




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      Those claims are materially different from the claims made by the parties to

this case. In particular, the existing parties rely on an entirely different racial-

gerrymander theory. The Buck plaintiffs insist that, to comport with Section 2, the

Second District must have a BVAP “around 60 percent.” 2/2/22 Tr. at 27. They urge

this Court to adopt a plan for the Second District—crafted, as it happens, by one of

the proposed amici—that satisfies “Section II of the Voting Rights Act and the U.S.

Constitution” with a BVAP approximating sixty percent. Dkt. 151-3 at 1, 3; see Dkt.

163 at 20. Allowing the proposed amici to press their new, eleventh-hour claims would

both implicate issues not previously raised by the parties (and that, indeed, contradict

the existing parties’ position) and would improperly expand the scope of this case.

Resident Council of Allen Parkway Vill., 980 F.2d at 1049.

      Second, and related, by seeking to present new claims and evidence, and

permission for “limited participation in any hearings,” the proposed amici are

effectively demanding party status. They should not be afforded the rights of a party

without proving intervention is proper. Under Rule 24, among other things, a

proposed new party must establish that “disposition of the action” would impair the

movants’ interests and the “existing parties” would “inadequately represent[]” them.

Sierra Club v. Espy, 18 F.3d 1202, 1204-05 (5th Cir. 1994); see Fed. R. Civ. P. 24(a),

(b). The proposed amici have made no such showing. The would-be amici have offered

no reason that the existing parties cannot adequately represent their interests. And

they have not explained why the current parties could not have previously asserted

their new claims or tendered their proposed supporting evidence.



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       Third, the proposed amici’s effective-intervention request is untimely. They

have been aware of their interests in this proceeding for months. The Mississippi

NAACP, for example, has been “monitoring” the Legislature’s “redistricting process

from the beginning.” Dkt. 151-3 at 1. Last year, the Mississippi NAACP engaged the

same expert who drafted the districting plan that the Buck plaintiffs urge this Court

to adopt. See id. at 2-18. Representatives of the Mississippi NAACP attended this

Court’s proceeding on February 2 but neglected to ask the Court to be heard or

participate in the parties’ briefing. See 2/2/22 Tr. 2; see also id. at 40-49. Then, only a

few days before the close of this Court’s expedited briefing schedule, the Mississippi

NAACP and their allies sought permission to put new issues and evidence before this

Court and enjoy “limited participation” in future hearings. The proposed amici have

delayed too long to effectively seek party status from this Court.

       For any or all these reasons, this Court should deny the proposed amici’s

request for leave to file their brief and supporting expert declarations and their

request for “limited participation in any hearings.”

       Dated: February 28, 2022




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                                Respectfully submitted,

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